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                                                                                      FILED IN THE
                                                                                  U.S. DISTRICT COURT
                                                                            EASTERN DISTRICT OF WASHINGTON
 1
 2                                                                           Mar 06, 2018
                                                                                 SEAN F. MCAVOY, CLERK

 3                             UNITED STATES DISTRICT COURT

 4                           EASTERN DISTRICT OF WASHINGTON

 5 UNITED STATES OF AMERICA,
                                                         No.   2:18-CR-0031-WFN-2
 6                   Plaintiff,
                                                         PROTECTIVE ORDER
 7         -vs-
 8 KATRINA M. ADAMS (2),
 9                             Defendant.
10
11         Pending before the Court is the Government's Unopposed Motion for a Protective
12   Order, ECF No. 19, and the parties' Stipulated Motion re: Computer Forensic Review
13   Procedures for Child Pornography Contraband, ECF No. 21. The Child Victims' and Child
14   Witnesses' Rights Act requires that certain privacy protections be put in place in this case.
15   The nature of some of the discovery requires special procedures. The Court has reviewed
16   the file and Motions and is fully informed. Accordingly,
17         IT IS ORDERED that:
18         1. The Government's Motions to Expedite, filed March 5, 2018, ECF Nos. 20
19   and 22 (see Praecipe filed March 6, 2018, ECF No. 23), are GRANTED. The underlying
20   Motions were considered on an expedited basis.
21         2. The Government's Unopposed Motion for a Protective Order, filed March 5,
22   2018, ECF No. 19, is GRANTED. The privacy protection measures mandated by 18
23   U.S.C. § 3509(d), when a case involves a person under the age of eighteen years who is
24   alleged to be a victim of a crime of sexual exploitation, or a witness to a crime committed
25   against another person, apply to this case, thus:
26                (a) All persons acting in this case in a capacity described in 18 U.S.C. §
27   3509(d)(1)(B), shall follow and abide by the privacy protections of 18 U.S.C. § 3509(d)(1)
28   and (2):



     ORDER - 1
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 1                    i) A person acting in a capacity described below in connection with
 2   a criminal proceeding shall keep all documents that disclose the name or any
 3   other information concerning a child in a secure place to which no person who does
 4   not have reason to know their contents has access; and disclose documents described
 5   in clause (i) or the information in them that concerns a child only to persons who,
 6   by reason of their participation in the proceeding, have reason to know such infor-
 7   mation.
 8                    ii) Subparagraph (i) applies to all employees of the Government
 9   connected with the case, including employees of the Department of Justice, any law
10   enforcement agency involved in the case, and any person hired by the Government to
11   provide assistance in the proceeding; employees of the court; the defendant and employees
12   of the defendant, including the attorney for the defendant and persons hired by the
13   defendant or the attorney for the defendant to provide assistance in the proceeding; and
14   members of the jury.
15             (b) Filing under seal.--All papers to be filed in court that disclose the name of
16   or any other information concerning a child shall be filed under seal without necessity of
17   obtaining a court order. The person who makes the filing shall submit to the clerk of the
18   court the complete paper to be kept under seal; and the paper with the portions of it that
19   disclose the name of or other information concerning a child redacted, to be placed in the
20   public record.
21             (c) Counsel shall remind all persons providing assistance on this case of these
22   obligations.
23             (d) Any alleged minor victim will be referred to either by initials or a
24   pseudonym, whichever is agreed upon by counsel for the United States and the Defendant.
25   Counsel shall be consistent in their use of the identifier selected. The parties shall prepare
26   their witnesses and instruct them to refer to the alleged minor victims only by using the
27   agreed pseudonyms (e.g., "Jane Doe 1", "Jane Doe 2" etc.), rather than their names, in
28   opening statements and in closing arguments.


     ORDER - 2
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 1                   (e) All personal information relating to any minor victim shall be precluded
 2   from public disclosure.
 3              3.   The parties' Stipulated Motion re: Computer Forensic Review Procedures for
 4   Child Pornography Contraband, filed March 5, 2018, ECF No. 21, is GRANTED. The
 5   Court enters this Stipulation and further Orders:
 6                   (a) The defense team shall not make, nor permit to be made, any copies of the
 7   child pornography contraband pursuant to this stipulation and order.
 8                   (b) The defense team agrees that it is forbidden from removing any contraband
 9   images from the Government reviewing facility.
10                   (c) Defense expert will be allowed to compile a report (without contraband
11   images/videos) documenting the examination on removable media if the case dictates.
12              The District Court Executive is directed to file this Order and provide copies to
13   counsel.
14              DATED this 6th day of March, 2018.
15
16                                                  s/ Wm. Fremming Nielsen
17                                                    WM. FREMMING NIELSEN
     03-05-18                                  SENIOR UNITED STATES DISTRICT JUDGE
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     ORDER - 3
